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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 BANG & OLUFSEN A/S,
                                             Plaintiff,            20-cv-10416 (JPO)

 v.                                                                     ORDER

 15626122961, 18520780903, ALICY2493, AMILA,
 ANDY BOUTIQUE STORE, BBLISHIWO, BLUE
 SKY    GREEN      SEA,   BOOMLY,     BOYCE,
 CAPFUYOU5703, CFORKTY, CZYOUTH0222,
 DEIDEI6666,     DHYYOUTH0113,     DSLKJFO5,
 DTYO31WW, DUXIAOXUELN99075, ESEPRENY
 BABY'S, FFGHM, FGJD7UY63, FGSRTWARTAW,
 FGXXHGRT, FHGDTR, FHGRTRE, FLOWERTON,
 FLTYRJVRG, FULL CAT, GCJAETWRQWEQW,
 HAPPY-LXL,          HILLKY,        HIS983Y7,
 HOLLESPIRATE, HOME CHENKU, HOP WITH
 YOUR FEELING, HOURMINU5, ILUMINATY,
 INABINE, IRNTBFDOE, ISNJA, JIANGKUN HOME
 STORE,       JIECHENGDIANZI,      JUNETRY,
 KUANGDUANG, LKSDJKGAL, LUOTIANXIU,
 MARICHU,          NBSQ,        NVMCFHSERT,
 PDORMMGDF,        PEAHER,    PERSPECTIVE01,
 PIPIXIADEAI,           QITANGDASHENGSUN,
 RENXINGBENSHAN,        RRVTSPPPPP,     SALE
 OFFICIAL STORE, SANKUTOY20, SHOP-STORE,
 SOLEDABRAVOIMPORT,            SONGYUANYU,
 STT6556,      SUNCHENGJING,      SUNNY118,
 SUNSHINE WALL, SUNYANZHI, SZMLOVE,
 VCGJV, WANGSAN, WBT525, WEICHENPEN,
 WSP5322132, XIAOBINGFENGING, XULULUO,
 XUMINGSHOP, YANHEMUKQ, YIFANG2015,
 YUERNCVHF, ZHAOYALIN5155 and ZHOU12345,
                                   Defendants.


J. PAUL OETKEN, District Judge:

       On January 6, 2021, Plaintiff informed the Court that each of Defendants has been served

and that this case may be unsealed. Accordingly, the Clerk is directed to unseal this case; the
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Court will unseal its Orders of December 21, 2020, and January 11, 2021, and file them on the

public docket; and Plaintiff shall publicly file the supporting documents for the Orders.

       SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
